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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: AGI SURETRACK, LLC,
CONTRACT LITIGATION                                                                  MDL No. 3135


                                ORDER DENYING TRANSFER


        Before the Panel:* Defendants OPISystems, Inc. (OPI), Integris USA, LLC, Seth Tackett,
and Adam Weiss move under 28 U.S.C. § 1407 to centralize this litigation in the Western District
of Missouri. This litigation consists of two actions pending in the District of Kansas and the
Western District of Missouri, as listed on Schedule A. AGI SureTrack, LLC (AGI), the plaintiff
in both actions, opposes the motion.

        On the basis of the papers filed and the hearing session held, we conclude that centralization
is not necessary for the convenience of the parties and witnesses or to further the just and efficient
conduct of the litigation. The two actions on this motion are brought by AGI, a company that
markets a cloud-based system known as BinManager, which consists of temperature, moisture,
and other sensors placed on cables in grain bins and used by farmers to monitor storage conditions
for their crops. AGI generally alleges that OPI, one of AGI’s primary competitors, unlawfully
obtained AGI trade secrets relating to BinManager through, inter alia, hiring former AGI
employees or retaining a former distributor, who then allegedly violated the confidentiality, non-
competition, and/or non-solicitation provisions of their employment or distribution contracts.
Movants argue that the two actions involve generally similar conduct and claims, and that some
witnesses will be deposed in both actions.

        “[W]here only a minimal number of actions are involved, the moving party generally bears
a heavier burden of demonstrating the need for centralization.” In re Transocean Ltd. Sec. Litig.
(No. II), 753 F. Supp. 2d 1373, 1374 (J.P.M.L. 2010). This litigation involves only two actions,
which are pending in adjacent districts. Indeed, until recently, both actions were before judges
located in the same metropolitan area (Kansas City). There is no indication that additional related
actions will be filed. While there are general similarities between the claims in these two actions,
each action involves unique claims brought against different defendants. For instance, the
Missouri action involves claims against a former AGI distributor and a marketing firm created by
former AGI employees, while the Kansas action is brought against OPI and OPI’s chief technology
officer (who is AGI’s former chief operating officer). To be sure, there will be some factual
overlaps between these actions, but the contract and tort claims in these actions are not particularly
complex, and we are confident the parties and the courts can coordinate their efforts to avoid


* Judge Matthew F. Kennelly did not participate in the decision of this matter.
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significant duplication. A large share of the discovery likely will be defendant-specific, as the
particulars of each incident of alleged misappropriation of trade secrets or solicitation of customers
will vary. While movants state that substantial discovery remains to be completed in these actions,
we note that discovery has been underway for over a year and is scheduled to close relatively
soon—by July 2025.

        Defendants have not met their “heavier burden” of demonstrating that centralization of this
relatively small and straightforward business dispute is necessary. Movants contend that
alternatives to centralization, such as voluntary coordination between the involved courts and
parties, are not feasible. They argue that AGI has resisted efforts to coordinate discovery and has
engaged in obstructive behavior (such as refusing to copy all defense counsel on communications
related to discovery). We, of course, do not countenance such behavior. But given the significant
overlap in counsel in these actions—AGI is represented by the same counsel in both actions, while
movants’ counsel represents at least some defendants in both actions—defendants should raise any
concerns about the progress of discovery and AGI’s willingness to coordinate (or lack thereof)
with the two courts overseeing these actions.

          IT IS THEREFORE ORDERED that the motion for centralization of these actions is
denied.


                                               PANEL ON MULTIDISTRICT LITIGATION




                                                            Karen K. Caldwell
                                                                Chair

                                       Nathaniel M. Gorton                David C. Norton
                                       Roger T. Benitez                   Dale A. Kimball
                                       Madeline Cox Arleo
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IN RE: AGI SURETRACK, LLC,
CONTRACT LITIGATION                                               MDL No. 3135


                                      SCHEDULE A


                 District of Kansas

     AGI SURETRACK, LLC v. TACKETT, ET AL., C.A. No. 2:23−02372

                 Western District of Missouri

     AGI SURETRACK, LLC v. INTELLIFARMS NORTHERN DIVISION,
           C.A. No. 4:23−00578
